           Case 4:11-cr-00243-SWW Document 95 Filed 05/07/14 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION




UNITED STATES OF AMERICA                                                     PLAINTIFF

vs.                              NO. 4:11CR00243-001 SWW

EDWARD EARL GRANT                                                            DEFENDANT



                                             ORDER

       Pending before the Court is defendant’s motion to transfer prisoner to the Veterans

Administration Hospital. Defendant is in the custody of the U. S. Marshal Service and is requesting

to be moved from the Pulaski County Detention Facility where he is currently being held pending

the placement in a medical facility by the Bureau of Prisons. The Court does not have the authority

to intervene in custody matters, but has alerted the U. S. Marshal Service of the concerns of defense

counsel.

       IT IS THEREFORE ORDERED that defendant’s motion to transfer prisoner to the Veterans

Administration Hospital [doc #94] is denied as moot.

       DATED this 7th day of May 2014.


                                                      /s/Susan Webber Wright
                                                      United States District Judge
